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                                                                           .~.. 132020
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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA
  YEHONATAN KAPACH,                        CASE NUMBER:

                                Plaintiff,                                         COMPLAINT
                  against

 INTEL CORPORATION,DIKLA KLE1N YONA,
                                                                      20-b277- ~ ~ ~~~
 YEHORAM SHAKED,ESTHER HAUT,DAPHNA
 BARAK EREZ,ANAT BARON,YAEL VILNER,EDNA
 ARBEL,DAVID M1NTZ and GEORGE KAR.A.



Plaintiff, pro se, for his complaint, alleges and sets forth as follows:
     1. 'This is a complaint by an employee of Defendant Intel Corporation ("Intel") and several
         public officials in the State of Israel, who have reduced the Plaintiff into a slave,
         extracting labor from him for a period of4 months without compensation.

2.        Plaintiffs entire salary was transferred by Defendant Intel to the State ofIsrael by an
order of Defendant Dikla Klein Yona to satisfy a phantom debt for fictitious and stale child
support that was wholly paid years ago, leaving with no money Plaintiff and his new wife and
two new children as well as the daughter from the first marriage who moved to his custody in
January 2013.

3.        The enslavement of Plaintiff became possible against a background of a radical
feminist ideology that prevails in the Court State of Israel, and is promoted and enforced by the
co-Defendants named in the caption, who are judges in Israel that make it impossible for a man
to evet "win" a family case in that country, and it has led to countless events of suicide (about
200 per years), impoverishment, denial ofany human rights, denial of due process and fair trial,
and rendering men into slaves by robbing them oftheir ability to survive, and/or a minimum
modicum of living.

4.        This branch of radical feminism has no counterparts in any other country in the
world. The co-defendants who behave and practice traits similar to a hate cult, preach men
hating, denigrating men to a form ofa sub-human creature, an animal whose life can be spazed,
who has no emotions, and his only purpose in life is to manufacture money for women. They
strongly believe in the illusion that all men and specially Jewish men are the most violent men in
the world, and that the men ofIsrael belongs to a secret patriarchy that mandates it members to
use and abuse women for sexual pleasures, and to stop women from promoting their
independence and careers.
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 5.        In light ofthis cult ideology, the co-defendants falsely interpret laws, invent and
 fabricate facts that never happened, write nasty and humiliating orders and judgments against
 men that have no resemble to reality or truth, and they all in tandem committed to their only
 purpose in life which is to steal and rob money from the hands of Jewish men and transferring
 the money to the hands of Jewish women,purportedly to compensate for the "crimes ofthe
 patriarchy".

 6.        The causes of action in this case are based on the Torture Victim Protection Act of
 1991 (TVPA"),the Alien Tort Statute, 28 U.S.C. § 1350),("ATS"), the
 International Convention to Suppress the Slave Trade and Slavery of 1926 (the "Slavery
 Convention" signed by the US in 1956,the Supplementary Convention on the Abolition of
 Slave of 1956, the ILO Co 29 Forced Labor Convention, 1930 and ILO C105 Abolition of
 Forced Labor Convention, 1957.

                                              PARTIES
 7.     Plaintiff is 51 years old, and he is a "citizen" and "resident" ofthe State of Israel. He
 recently managed to lift a no exit order imposed on his for the past 20 years by paying off(the
 ransom)an entirely factious and bogus child support "debt" dating back to 2013 and came to live
 in Los Angeles.

 8.     Plaintiff is a father of3 children, two from a second relationship and one from a previous
 marriage, who is child for whom the child support was sought. That child actually lived in his
 custody since January 1, 2013.

 9.      Plaintiff is also a human rights activist. When Plaintiff realizes that the Israeli courts are
 no courts ofjustice and instead are a circus where men are thrown into a gladiators' arena, with
 no chance ofcoming out to be eaten alive by the radical feminist, Plaintiffjoined with others and
 formed Fathers for Justice, anon-profit organization registered in Israel and recognized by the
 IJN as a civil society. Because of his status as an "activist" for human rights, Plaintiff is
 blacklisted and persecuted by the Judiciary of Israel as an animal.

 10.      Plaintiff work for Defendant Intel for a period of3 years.

 1 1.      Defendant Intel Corporation American multinational corporation and technolo~v
 company headquartered in Santa Clara, California, with offices in Los Angeles as well. It is the
 world's largest and highest valued semiconductor chin manufacturer based on revenue, and is the
 inventor ofthe x86 series of microprocessors, the processors found in most personal computers
(PCs). Intel ranked No.46 in the 2018 Fortune 500 list ofthe largest United States corporations
 by total revenue. Upon information and belief, Intel is incorporated in Delaware.

 12.       Defendant Dikla Klein Yona is a citizen and resident ofthe State of Israel. She works
 as a magistrate handling collections of child support by women from men at the Israel
 Enforcement and Collections Authority in the city of Tel Aviv. All of her "clients" aze women,
 because in the State ofIsrael women are exempt from paying child support, and their incomes
 are exempt from contributing to the child's maintenance. Despite all human rights conventions
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 which Israel signed, there is no equality between men and women since only the man is
 responsible to pay regardless of his income, and regardless of whether he has an income or
 ability to work at all and even if he is a disable father wounded in a battle and using a wheel
 chair.

13.       Defendant Dikla Klein Yona is the person who refused to give Plaintiff a chance to
have his day in court and prove that the child support "debt" is fictitious. She ordered that
Plaintiffs full and entire salary be garnished until a bogus debt in the amount of$ 34,000
124,000) NIS(is extracted, that all his credit cards be suspended and unusable, that all his bank
accounts be lined and the funds the in transferred to the former wife, that a no exit order shall
continue, that all his pension and retirement funds be liquidated, and that within a certain amount
of months of non-payment, Plaintiff shall be arrested and incarcerated (usually for 21 days every
3 months).

14.      Defendant Yehoram Shaked is a citizen and resident ofthe State of Israel. He is a
controversial family courtjudge in the City of Tel Aviv. He was the subject of quite a few
investigatory news exposes involving corruption. He refused to hear Plaintiffs appeal and
dismissed it.

15.     Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
David Mintz and George Kara are citizens and resident ofthe State of Israel.

16.      Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
David Mintz and George Kara have an address at Bet Mishpat Elyon, 1 Kiryat Hamemshala,
Jerusalem, Israel.

 17.       Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, David Mintz
and George Kara are Israel Supreme Courtjudges, and Edna Arbel is a former Supreme Court
judge. They belong to a cult of radical feminists' ideology who promote hatred and contempt
towards men,female supremacy and the enslavement of men to serve the needs and whims of
women. These defendants systematically deny each and every application, motion or complaint
by a man seeking fair justice, or even to be treated equally without discrimination and they direct
all other judges and others in judicial or administrative capacity to copy them. They
systematically deny Due Process and human rights of men (both domestic and international), and
they issue decisions always prefer the women's position or version no matter what.

18.     Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
David Mintz and George Kara integrate the influenced theories of Andrea Dworkin, Catharine
MacKinnon, Valerie Solanas, and Alice Walker as if their writings are the Constitution of
Israel.

19.       Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
David Mintz and George Kara systematically disregard and ignore human rights of men and their
children's rights by international law by knowingly and repeatedly allowing the other Israeli co-
defendants to rob men oftheir assets, properties, salaries, persons and so on,and transfer the
wealth to the hands of women.
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 20.      Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
 David Mintz, George Kara, Yehoram Shaked, Dikla Klein Yona are hiding under the immunity
 thatjudges have in Israel and trusting that their immunity will never stand a test ofthe
 enlightened world. As a result, they are seriously injuring the human rights ofcitizens ofthe
 State ofIsrael.

 21.       Defendants Esther Hayut, Daphna Barak Erez, Anat Baron, Yael Vilner, Edna Arbel,
 David Mintz, George Kara, Yehoram Shaked, Dikla Klein Yona, Since the coup offormer
 Supreme Court President Aharon Barak,the judges have been taking advantage ofthe fact that
 the Israeli government is so weak and frightened and they do not bother to judge by law and in
 fact they are judging by an anti-law agenda and doing whatever that come in their minds.


                                           JURISDICTION
 22.      This Court has subject matter jurisdiction over this action under Torture Victim
 Protection Act of 1991, also ATS -The Alien Tort Statute(28 U•S•C• 1350; ATS), also called
 the Alien Tort Claims Act,the U.S. Foreign Corrupt Practices Act(FCPA), Sections 13(b)(2)(A)
 and 13(b)(2)(B) ofthe Securities Act(15 U.S.C. § 77q(a)), the Slavery Convention and the
 Convention against Forced Labor.

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 23.      Venue is proper in the Central District of California. Venue is proper in this Court
 pursuant to 28 USC § 1391 and 18 USC § 2334. A substantial part ofthe activities and decision
 making underlying the slavery originated in this District from Intel's office at 26630 Agoura
 Road, Calabassas 91302. Defendant Intel is located in this District, and moreover products
 produced in the location where Plaintiff worked are sold widely in this District in violation of
 California Consumer Protection Laws, Cal. Civil Code §1950, et seq, the Consumer Legal
 Remedies ACT(CLRA),CA Business and Professions Code §17200 et seq, and the Unfair
 Competition Law(UCL).

                                                FACTS


 24.      As stated, Plaintiff is a forced citizen and resident ofthe State of Israel, currently living
 in Los Angeles after he managed to leave Israel following a period of20 years and has exit order
 and being forbidden from leaving the country.

 25.      Plaintiff is now 51 years old (born July 14, l 969). He was married and had a daughter
 but in May 2002 his former rich wife opened a child support case in the Family Court in the city
 ofTel Aviv in Israel against him. Shortly after that in December 24,2002 he divorced that
 wife.

 26.     Plaintiff paid all child support timely as ordered in the amount of 1,180 NIS
(approacimately $320 USD). Despite paying timely and regularly the former wife opened a child
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 support collection case at the Israeli Enforcement and Collection Authority, Child Support Unit
 in November 2044.

27.     The former wife maliciously and falsely launched her child support collection in the
amount of 1,800 NIS (approximately $500)instead of 1,180 NIS. She had let this case
accumulate debts collected huge interest despite being paid fully on time, and without the
knowledge ofPlaintiff.

28.      In order around January 1, 2013, when the daughter was 14 years old, the former wife
decided to abandon her and travel overseas. As a result, the daughter was placed in the custody
ofPlaintiff, and the mother was automatically exempt from paying child support, despite her
becoming non-custodian, simply because she is a woman.

29.       Needless to say that in the rad-fem State ofIsrael, the former wife who became non-
custodian was exempt from paying child support to the Plaintiff, solely because she is a woman
and as such enjoys the privileges of a preferred citizen ofthe State, and the State's express public
policies of discriminating against men in every way possible.

30.        When the daughter reached the age of 21, in or around September 2018, Plaintiff filed
an application with the Israeli Debt Collection to discharge the false debt accrued based on the
initial false manipulation ofthe numbers and figures by the former wife. That application
reached the desk ofthe Collection Magistrate Defendant Dikla Klein Yona.

31.       The former wife conceded that she falsely inflated the opening sum of her collection
case and accumulated 73,100 NIS($19,750)in child support that was never owed. She conceded
that she was paid child support, and that she did receive it regularly until she gave up the child,
however the recalculation ofthe false charges did not eliminate the usurious interest rates that
the court of Israel applies to its male population when collecting child support, as well as the
Cost of Living escalations, and as a result a sum of approlcimately 124,000 NIS (approximately
$34,000) was not discharged.

32.      Plaintiff made several petitions to Defendant Dikla Klein Yona protesting these false
debts with proof that he paid all changes directly to the former wife and there are no open debts,
however Defendant Dikla Klein Yona refused to accept the proof, the receipts and an accountant
certification, and also refused to schedule a hearing.

33.       In October 2-3, 2019 Plaintiff was invited by the iJN Committee on Social, Economic
and cultural rights to participate in hearings to assess Israel's compliance with the tJN human
rights convention.

34.       Plaintiff made a special application to lift the no exit order so that he can give
testimony in the LJN in Geneva. The Collection Magistrate allowed Plaintiff to travel provided he
files bonds and assurances.

35.      When Defendant Klein Yona was notified by the (Hanhalat Batey Hamishpat) unlawful
Tracking Unit Headquarters of Court that Plaintiff is about to travel to the IJN, in retaliation on
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September 25, 2019, Defendant Klein Yona issued an final judgment dismissing all his open
claims against the false calculations and false interest charges, and resumed all enforcement
proceedings against the Plaintiff, and she has ordered the Enforcement and Collection Authority
to impose on Plaintiff every possible limitation on his life, liberty and properties including no
exit order, liens on all his bank accounts and credit cards, and a 100% garnishment on his
salary. Defendant Dikla Klein Yona also ordered ex pane and sua sponte the forfeiture ofthe
cash bond deposited to secure the travel to the LTN, valued at a few thousand dollars.

36.      That means that every penny he earns in wages must be transferred by the employer to
the Enforcement and Collection Authority as of October 3, 2019.

37.      On or about October 28,2019 Plaintiff filed an appeal on the decision of Defendant
Dikla Klein Yona, and that appeal was handled by Judge Yehoram Shaked of the family Court in
Tel Aviv.

38.       Defendant Shaked issued an order on November 7,2019 demanding that Plaintiff pay
into the Court a bond in the sum of 5,000 NIS($1,350), despite the fact that all of Plaintiffs
accounts were placed under liens, his credit cards suspended and his employer was ordered to
transfer Plaintiffs salary in its entirety to the Enforcement and Collection Authority.

39.     Plaintiff was left without one penny to live on, despite the fact that he now has a new
common-law wife with whom he made two children and had a new wife (Cancer patient,
Leukemia)to feed and support them, as well as the daughter for whom the old child support debt
was supposed to be "collected".

40.      On or about November 13, 2019 Plaintiff filed an application to exempt him from
paying a bond, because he had no sources of money to pay it, and/or. At minimum to release for
him a minimum sum for basic subsistence. In response Defendant Shaked order the Plaintiff to
panhandle and eventually denied the application and even sanctioned Plaintiff in the sum of
1,500 NIS($415)for having "troubled" and harass the Judge with such application, and another
sum of 1,500 NIS for using "inappropriate" language.

41.      Eventually, on January 8, 2020 Defendant Shaked dismissed the appeal on the decision
of Defendant Dikla Klein Yona for non-payment ofthe bond.

42.        As soon as Plaintiff returned from Geneva and found out about all the collection
restrictions imposed upon him, he contacted Mr. Mark Bitton, his direct manager and other
officials and principals at his employer Defendant Intel, and implored them to refuse to transfer
his entire salary to the Enforcement and Collection Authority, because that would mean that he
works "for free" as a slave, and that if he is not allowed a minimum amount for basic
subsistence, then he becomes a victim of coerced labor.

43.     In or around October 2019 the officials at Defendant Intel told him that they would
examine the legal situation and consult with Intel's headquarters in the United States and
promised him assistance to the full extent possible.
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 44.       On December 2, 2019 Plaintiff had a meeting with Defendant Intel's Human Resources
 officer and warned her that if Intel would not file a protest with the Enforcement and Collections
 Authority, they it will be deemed violating the Conventions against slavery and forced labor.

 45.        A few weeks later Plaintiff had another meeting with another Intel representative Mr.
 Matan Kerner, and Plaintiff repeated the same warning. At that time Mr. Kerner told Plaintiff
 that Intel USA directed them to obey the wage garnishment order and forwazd all the salary in its
 entirety to the State ofIsrael.

 46.       Given this news, in order not to work for nothing, Plaintiff asked to be released on
 vacation without pay until the end ofthe legal proceedings, but Mr. Kerner said it is not
 possible.

 47.        While Plaintiff was waiting for a word from Intel headquarters, Intel took Plaintiffs
 salary in its entirety and sent it to the Enforcement and Collections Authority for the months of
 October through January 2019, allegedly in compliance with a wage garnishment order.

48.      By doing so,Intel rendered Plaintiff into a slave, a person who works full time and
receives no remuneration in return for a period of4 months. Defendant left Plaintiff and his new
family with nothing to eat.

49.      It should be noted that Intel could have protected Plaintiff by making its own
application to the Enforcement and Collections Authority and stating that they refuse to turn its
own loyal employee into a slave.

50.       Finally, when Plaintiff learned that he will never get any justice from the Israeli Courts
and in particular from Judge Shaked or any judge else, and that even if he appeals, he will again
be required to file a bond, which he doesn't have, and that his family is suffering on the verge of
starvation, Plaintiffs old and sick pazents(Over 80)took a loan and paid offthe debt at the
Enforcement and Collections Authority.

51.       After that, Plaintiff purchased a ticket and came to stay in Los Angeles.

                                  GENERAL BACKGROUND
52.       In the past 30 years, the State ofIsrael has been overtaken by a fanatical cult of radical
feminists' ideology. Defendant Edna Arbel before she joined the Supreme Court in 2004 was
Chief State Prosecutor. She drafted guidelines which exempt women from prosecution for filing
false complaints. Instructions were given to the police that in any case of altercation between a
man and a woman,the man must be arrested, and removed from his home for a minimum of 15
days.

53.       When Defendant Arbel joined the Supreme Court, she has infected the entire court with
her hate mongering rhetoric, that women are victims of the patriarchy, that women never lie and
that women are fragile and sensitive creatures that can never lay hands on a man. She spiced her
rhetoric with citations from McKinnon and other members ofthe rad-fem cult.
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 54.      Needless to say, that Defendant Arbel herself filed a false claim against her son in law
 Eyal Baumgart(himself a judge) who was divorcing her daughter claiming that he is a pedophile
 fondling his own children sexually.

55.       Defendant Arbel later retired in 2014 and immediately she was appointed in a secret
procedure, as head of a secret "Committee of Two",a screening unlawful committee that filters
out all candidate for the Judiciary. She was given immense powers to promote only radical
feminists to positions ofjudgeship, and any other person whose sample writings do not contain
explicit hate words towards men was thrown out.

56.      Meanwhile another radical feminist Daphna Barak Erez who was Dean ofthe Law
School in Tel Aviv was promoting this ideology by writing articles and books, all contaminated
with preaching offemale supremacy. Based on these writings she recommended for a position
as a Supreme Court Judge in 2012, and indeed she became very influential judge.

57.      Slowly but surely the State of Israel became one big jail for men. The child support
"laws" were interpreted as if men are the only parent responsible for child support, and women
are exempt from contributing one penny.

58.        Child support rates in Israel became the highest in the world,2 or three times higher
than US and Australia, and much more than that compared with Continental Europe. The
usurious child support "awards" in Israel became an instrument to take money from men and
transfer it to women. For example, after Israel who is at the top list of OECD countries surveyed
stands Switzerland. There the rates are slightly lower than Israel, but a Swiss employee makes
about 4 times more in salary than an average Israeli man.

59.      The Iaws ofcustody were already in favor of women. Article 25 ofthe Capacity and
Guardianship Law states that women get automatic custody (the antique Tender years
presumption). This was also interpreted to give women veto powers on the amount ofchild
access they wish to grant their former husbands.

60.     In many occasions, Daphna Barak Erez and Defendant Yael Vilner said that this
complies with international law, and with women's claims for "equality between the sexes",
however absurd this claim is.

61.       In the area of divorce law, the rad fem began enforcing strictly the Ketuba. That is a
religious deed given by the bridegroom to the bride at the time of marriage and it contains a
symbolic figure, which the husband promises to pay the woman if he no longer desires to accept
the sexual favors ofthe wife. Although this is purely a symbolic instrument of marriage, and if
taken literally is reduces a woman into an objectified servant ofthe husband, whose sexual
services are sold for the duration ofthe marriage, Defendants Arbel, Barak Erez, Baron and
Vilner had no problem holding that the Ketuba can be used as a civil contract,just because it can
yield women tens ofthousands of dolIazs and even hundreds ofthousands of dollars.

62.      In the azea of domestic violence, these defendants, as members ofthe cult, have
eliminated all rules of evidence in criminal cases so it can be as easy to convict a husband for
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 violence, spousal rape or sexually indecent conduct with children, as easy as making an
 omelet. They have encouraged every woman who wishes to divorce to start her journey at the
 police and concoct every imaginable false claim they can think of.

63.       As a result, hundreds of men in divorce or divorce proceedings commit suicide, tens of
thousands of men find their salaries being garnished to satisfy child support awards that can even
exceed the salary, many ofthem lose their jobs and find themselves embroiled in horrendous
violence and rape, they gave to spends thousands of dollars on lawyers, on examinations to prove
parental fitness, and on court fees and appeals bond.

64.      In short, the Defendants(except Intel) have made it impossible for a man to prove his
case in an Israeli court, whether in a custody case, child support or a criminal case. There simply
is no law and no justice in the Israeli courts dominated by these Defendants.


                                   FIRST CAUSE OF ACTION


65.       Plaintiff repeat and reallege all facts and circumstances described above as if fully set
forth as truth herein.

66.     Defendant Intel's acts described above constitute outrageous conduct and acts of
enslavement and forced labor contrary to the domestic laws and the international treaties
mentioned above.

67.      Defendant Intel intended or acted in concert to intend to cause the enslavement and/or
forced labor to the Plaintiff, by conduct which was intentional and malicious and done for the
purpose of causing Plaintiff to be a victim oftorture, suffer humiliation, mental anguish, and
emotional and physical distress.

68.       Needless to say that by reason oftransferring the entire salary of Plaintiff to the State of
Israel, without any protest that such situation would leave a man(and loyal employee) who the
provider for a common Iaw and three children without any food or anything or any money to live
from,Defendant Intel knew and should have known that Plaintiff and his family will be facing
starvation.

69.       Alternatively, Defendants engaged in the conduct with reckless disregard of the
probability of causing Plaintiffs to suffer from starvation, inability to pay debts and baze
necessities, humiliation as a slave and emotional distress, Plaintiff was present within the zone of
danger of Defendants' acts, and Defendant knew that Plaintiff was so present and likely to so
suffer.

70.       As a proximate result of defendant Intel's act or omissions Plaintiff suffered the
damages described including severe humiliation, mental anguish, and emotional and physical
distress, and has been injured in mind and body.

71.      The emotional distress suffered by Plainfiiff was serious or severe.
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  72.      Plaintiff is therefore entitled to recover from the Defendant Intel the sum of$20 Million
  dollars.

                                  SECOND CAUSE OF ACTION
  73.        Plaintiffs repeat and reallege all facts and circumstances described above as iffully set
  forth as truth herein.

  74.        Just like the Plaintiff, there are many Israeli men who are in divorce or divorce
  proceedings who are in similar situation, and their salaries are being "eaten" by Intel who
  transfers them to the hands ofthe Enforcement and Collections Authority of Israel, either in full
 (thus leaving the employee nothing to live on, or no choice but to quit his job), or these transfers
  are products of discriminatory awards ofchild support that are undue, and would not have been
  awarded if there was equality between men and women.

 75.      Defendant Intel is in a position of power towards the State ofIsrael, as the State is
 courting Intel to invest and provide jobs. Each yeaz, the State ofIsrael gives Intel about 1 Billion
 NIS (about 270 Million USD)in cash just to keep Intel factories open in Israel. In fact, on
 December 4, 2019 Israel's parliament confirmed an addition incentive grant to Intel in the
 amount of4 Billion NIS(about $1.080 Billion dollars).

 76.       Thus, it is within Intel's powers and abilities to protest and refuse to transform its male
 employees into employees of slavery and servitude. Especially since Intel had a lot ofleverage
 in these negotiations concerning the grant. Intel could have negotiated an exclusion of its male
 employees from the application ofthe discriminatory, arbitrary, and atrocious child support
 regime in Israel that reduced men to a sub human creature.

 77.       Each year Intel issues an "Anti-Slavery and Human Trafficking Statement"(the Anti-
 Slavery Statement", which is made in order to comply with California Transparency in Supply
 Chains Act of2010(SB 657)and the United Kingdom Modern Slavery Act of2015 which
 require businesses to provide disclosures concerning their efforts, if any,to address the issues of
 slavery and human trafficking in their supply chains.

 78.      According to Defendant Intel's 2018 Anti Slavery Statement: "similarly, the revised
 Federal Acquisition Regulation(FAR)52.222-50("Combating Trafficking in Persons") and
 new FAR provision 52.222-56 ("Certification Regarding Trafficking in Persons Compliance
 Plan") are aimed at removing slavery and human trafficking from the U.S. Federal Government
 contracting supply chain.

 79.        According to Defendant Intel's 2018 Anti Slavery Statement: "This Slavery and
 Human Trafficking Statement responds to the California and U.K. Acts, and reflects Intel's
 efforts to combat the conduct prohibited by the FAR's anti-slavery and anti-trafficking
 provisions. The statement aims to provide consumers detailed information to make better, more
 informed choices about the products and services they buy and companies they support. Our
 statement covers Intel Corporation and its subsidiaries, including but not limited to, Intel
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  Corporation(UK)Ltd. For additional information about Intel and its operations, refer to the 2018
  Annual Report on form 10-K".

  80.       Moreover, according to Defendant Intel's 2018 Anti Slavery Statement: "Intel is
  committed to maintaining and improving systems and processes to avoid complicity in human
  rights violations related to our operations and supply chain. Intel recognizes that slavery and
  human trafficking can occur in many forms, such as forced labor, child labor, domestic and
  indentured servitude, sex trafficking, and workplace abuse. Throughout this statement we use the
  terms "slavery and human trafficking" to encompass all forms of coerced labor. At Intel, we
  take steps to minimize the risk of slavery and human trafficking in our operations and supply
  chain. Our commitment and integrated approach to human rights includes provisions on avoiding
  risks such as slavery and human trafficking in these documents: (a)Intel Global Human Ri is
  Principles,(b) Intel Code of Conduct,(c) Responsible Business Alliance(RBA)Code of
  Conduct,(d) Trafficking in Persons Federal Government Purchasin Polices,(e)LTN Global
  Compact".

  81.       When Plaintiff was recruited, he was presented with a similar statement(applicable to
  that year) and was required to sign it. Little did Plaintiff know that he himself will become a
  slavery victim himself by Intel.

 82.       In California, in response to consumer demands,the California Legislature passed the
 California Transparency in Supply Chains Act of 2010(the "Act"), Cal. Civ. Code §1714.43.
 The Act addresses the market for goods and products "tainted" by slavery and human
 trafficking—crimes that are outlawed by state, federal, and international law. Id. In enacting the
 California Transparency Act,the Legislative Counsel's Digest stated that "consumers are
 inadvertently promoting and sanctioning these crimes through the purchase ofgoods and
 products that have been tainted in the supply chain." See Legis. Counsel's Dig., Sen. Bill 556,
 ch. 556, §2(h),(2010 Reg. Sess.).

 83.       The Legislature in CA further stated that: "[a]bsent publicly available disclosures,
 consumers are at a disadvantage in being able to distinguish companies on the merits oftheir
 efforts to supply products free from the taint of slavery and tricking. Consumers are at a
 disadvantage in being able to force the eradication of slavery and trafficking by way oftheir
 purchasing decisions. Id. at § 2(i).

 84.       The Act recognizes that consumers are deeply concerned about the way in which their
 products are made and would alter their purchasing practices if they knew their products were
 tainted by slavery and human tricking.

 85.       The Act, therefore, requires businesses with an annual gross ofover $100 million to
 "disclose their efforts to eradicate slavery and human trafficking from their direct supply chains."
 See Cal. Civ. Code §1714.43(a)(1). This imposes an ~rmative duty on Defendant Intel to
 eradicate slavery and work in debt bondage.

 86.    The California Transparency in Supply Chain Act("the Act"), Cal. Civ. Code § 1714.43,
 was signed into law in October 2010. The Act addresses the market for goods and products
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 "tainted" by slavery and human trafficking—crimes that are outlawed by state, federal, and
 international law. ld. This statute recognizes that consumers should not be forced to promote
 slavery and human trafficking through their purchasing practices. Therefore, businesses such as
 Costco are required to "disclose their efforts to eradicate slavery and human trafficking from
 their direct supply chains." Id. at § 17t4.43(a)(1).

 87.       Such disclosure should include a statement that addresses the extent that the company:
(1)engages in verificarion of product supply chains to evaluate human trafficking and slavery,
(2)conducts audits ofsuppliers to evaluate supplier compliance with company standazds for
 trafficking and slavery in supply chains,(3)requires direct suppliers to certify that materials
 incorporated into the product comply with the laws regarding slavery and human trafficking in
 the country or countries in which they are doing business,(4) maintained internal accountability
 standards, and (5)provides company employees and management, who have direct responsibility
for supply chain management,training on human trafficking and slavery. Cal. Civ. Code §
 1 714.43, et seq.

 88.       California has also enacted several statutes that directly address human trafficking
 abuses such as The California Trafficking Victims Protection Act, The Human Trafficking
 Collaboration and Training Act, the Access to Benefits for Human Trafficking and Other Serious
 Crime Victims Act as well as various Senate and Assembly Bills that amend current California
 41 statutes.

 89.      The US Federal government also responded to modern forms of slavery. In response to
 the growing concern about slave labor within the supply chains, the United States enacted the
 Tariff Act Section 307 of the Tariff Act of 1930, 19 U.S.C. §1307, prohibits importing goods
 made with forced or indentured labor.

 90.        In 2000,to expand on sanctions against trackers and to protect trafficking victims,
 the U.S. enacted the Victims of Trafficking and Violent Protection Act of 2000. According to the
 T`VPA of 2000: "Congress finds that [aJs the 21st century begins, the degrading institution of
 slavery continues throughout the world. Trafficking in persons is a modern form ofslavery, and
 it is the largest manifestation ofslavery today. See 22 U.S.C. § 710I(b)(1).

 91.       After analyzing slavery and human trafficking in the supply chain, the TVPA of2000
 stated that "[t]rafficking in persons substantially affects interstate and foreign commerce.
 Trafficking for such purposes as involuntary servitude, peonage, and other forms offorced labor
 has an impact on the nationwide employment network and labor market." Id. at § 7101 (b)(12).
 This Act, among other provisions, strengthened sanctions against traffickers, established an
 Office and Interagency Task Force to Monitor and Combat Trafficking and provided assistance
 to victims oftrafficking by allowing them to seek "T-Visas" to obtain temporary residency in the
 United States.

 92.       In 2003, the U.S. enacted the Trafficking Victims Protection Reauthorization Act of
 2003("T`VPRA of 2003"). The TVPRA of2003 amended the TVPA of2000 and, among other
 things, enhanced the prevention of trafficking in persons, added additional provisions to protect
 families of trafficked victims, added human trafficking to crimes that can be charged under the
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  RICO statutes, and established a civil right of action for trafficking victims. The United States
  continues to address the evolving issues of human trafficking, the TVPA of2000 by further
  amended in 2005,2008, and 2013.

  93.       In 2005,the U.S. enacted the Trafficking Victims Protection Reauthorization Act of
  2005("TVPRA of2005"). The TVPRA of2005 further amended the TVPA of2000 and
  enhanced the protections for trafficked victims and includes measures to ensure that the U.S.
  Government personnel and contractors are held accountable for their involvement with acts of
  trafficking in persons.

  94.      Following this amendment,the U.S. Deparhnent of Defense incorporated
  antitr~cking and protection measures for vulnerable populations. Additionally, a $5 million
  pilot program was established to create residential treatment facilities in foreign countries for
  victims oftrafficking.

 95.       In 2008, the U.S. enacted the William Wilberforce Trafficking Victims Protection
 Reauthorization Act of2008("TVPRA of 2008"). The TVPRA of2008 was enacted to
 "authorize appropriations for fiscal years 2008 through 2011 for the Tricking Victims
 Protection Act of 2000,to enhance measures to combat trafficking in persons, and for other
 purposes." The TVPRA of2008 amended the TVPA of2000 to include new prevention
 strategies to combat international tricking in persons, to ensure the availability of possible
 witnesses and informants, enhance the sanctions against traffickers, and more.

 96.       In 2013 the Trafficking Victims Protection Reauthorization Act of2013("TVPRA of
 2013")was passed to, among other improvements, strengthen efforts to "ensure that United
 States citizens do not use any item, product, or material produced or extracted with use of labor
 from victims ofsevere forms oftrafficking."

 97.      As evidenced throughout these federal statutes, the United States is deeply concerned
 with national and international human rights abuses and seeks to eradicate these abuses by
 enacting programs, criminal sanctions, and protections for victims oftrafficking. In doing so, the
 U.S. also sought to prevent consumers from unconsciously sanctioning these human rights
 violations through their unwitting purchases oftainted supply lines for consumer goods.

 98.      Defendant Intel states publicly that it does not tolerate human trafficking and slavery in
 its supply chain yet it continues to sell merchandise such as computer chips developed or
 manufactures in Israel by men who are subject to slavery to consumers in CA and elsewhere in
 the US and the world.

 99.        In light of the foregoing, it is clear that Defendant Intel's Participation in the slavery of
 its Israeli male employees is critical to the tainted products reaching California Consumers. Inte]
 sells its chips to U.S. customers everywhere where computers and laptops are sold. U.S.
 consumers who buy Intel chips are buying the product that was created through the use offorced
 labor, chattel labor, and/or slave labor. As stated, due to its power it can and it could have
 dictated to the State ofIsrael terms and conditions that would protect the employees in its chain
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  of supply and production from the horrendous maltreatment ofthe family courts, supreme court
  and the Enforcement and Executions Authority.

 100. Defendant Intel knew,or should have known,that it was relying upon forced labor to
 produce their products. Despite Intel's knowledge ofthe widespread use offorced labor rampant
 in Israel and the specific policies prohibiting forced labor, Intel continues to obey the draconian
 unlawful orders ofthe family courts, Supreme Court and Enforcement and Collections Authority
 ofIsrael.

 101.      Defendant's Intel is misleading the public in California and elsewhere by falsely
 representing that its products are free from slavery when indeed the products are manufactured
 by employees who are either robbed oftheir salaries or are forced to quit so as not to continue
 their servitude.

 102.      Such acts ofthe Defendant Intel as described above, constitute unlawful business
 practices within the meaning of California Business and Professions Code § 17200. Defendant
 Intel's business acts and practices, as alleged herein, also constituted and constitute a continuous
 and continuing course of conduct of unfair competition by means of unfair, unlawful and/or
 fraudulent business acts or practices within the meaning of § 17200.

 103. Defendant Intel' practices are unlawful in that their conduct in collaborating with the co-
 defendants regime of child support extortions and full wage garnishments actively contributes to
 the use ofslave labor in violation of bans on such human trafficking enacted by the U.S.,
 California and by international conventions, including but not limited to the Tariff Act of 1930.
 The Anti-Trafficking in Persons Act,the iJN Declaration of Human Rights, and California Penal
 Code § 236, § 237, etseq.

 104. In addition, Defendant Intel's conduct in representing that it enforces policies against the
 use of slave labor in the computer chips it sells is a violation of Civil Code Section
 1714.43. Intel's practices aze also unlawful under California Business and Professions Code
 Section 17500,et seq. and Civil Code Section 1750, et seq.

 105. Defendant Intel's practices are fraudulent in that Defendant Intel affirmatively represents
 that it enforces standards to prohibit the use of slave labor, when in fact it clearly did not.

 106. Defendant Intel's participation in a supply chain tainted with slave labor is immoral,
 unethical, oppressive, unscrupulous and injurious to consumers.

 107. Defendant Intel's business acts and practices, as alleged herein, have caused harm to
 Plaintiff and other men in his situation who worked. or continue to work at Intel.

  108. As a result ofthe above violations of Business and Professions Code Section 17200,
 Plaintiff is entitled to an order enjoining such conduct by Defendants, such orders and
 judgments that may be necessary, including the appointment of a receiver, to restore to any
 person in interest any money paid as a result ofthe acts of Defendants.
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  109. Defendant Intel also violated the Misleading and Deceptive Advertising California
  Business and Professions Code Section 17500, et seq. California Business and Professions Code
  Section 17500 provides that it is unlawful for a corporation "to induce the public to enter into
  any obligation relating thereto, to make or disseminate or cause to be made or disseminated ...
  from this state before the public in any state, in any newspaper or other publication, or any
  advertising device, or by public outcry or proclamation, or in any other manner or means
  whatever, including over the Internet, any statement ... which is untrue or misleading, and which
  is known,or which by the exercise ofreasonable care should be known,to be untrue or
  misleading ..."

  1 10. Defendant's representations, including statements made in Defendant's television, radio,
  and print advertising, websites, brochures, and all other written and oral materials disseminated
  by Defendant contained statements that were false, misleading, or that omitted material
  information that Defendant were under a duty to disclose and which were known or should have
  been known to Defendant to be false, misleading or deceptive.

  1 11. The misleading advertising described herein presents a continuing threat to Plaintiff and
  members ofthe public in that Defendant persist and continue to engage in these practices, and
  will not cease doing so unless and until forced to do so by this Court.

  1 12. Defendant Intel also violated the Consumer Legal Remedies Act, Civil Code Section
  1750,et seq. The above acts of Defendant Intel, in selling computer chips that are the product of
  slave labor, were and are unfair methods of competition and unfair or deceptive acts and
  practices in violation ofthe Consumer Legal Remedies Act, Civil Code Section 1750, et seq.
 ("CLRA"). CLRA section 1770(a)(5) prohibits "representing that goods or services have
  sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not
  have or that a person has a sponsorship, approval, status, affiliation, or connection which he or
  she does not have."

 1 13. Defendant Intel violated this provision by making the misrepresentations describe above,
 including but not limited to, in connection with its Code of Conduct and in selling misleading
 and inadequately labeled prawns that fail to notify the consumer of unlawful labor abuses in the
 supply chain. Defendant continues to violate this provision in connection with sales of prawns to
 Class members.

 1 14. CLRA section 1770(a)(7) prohibits "representing that goods or services are of a particular
 standard, quality, or grade, or that goods are of a particular style or model, if they are of
 another." Defendant violated this provision by making the misrepresentations describe above,
 including but not limited to, in connection with its Code of Conduct and in selling misleading
 and inadequately labeled prawns that fail to notify the consumer of unlawful labor abuses in the
 supply chain. Defendant continues to violate this provision in connection with sales of computer
 chips designed or manufactured in Israel to California consumers.

 1 15. CLRA section 1770(a)(9) prohibits "advertising goods or services with intent not to sell
 them as advertised." Defendant violated this provision by making the misrepresentations
 describe above, including but not limited to, in connection with its Code of Conduct and in
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  selling misleading and inadequately labeled prawns that fail to notify the consumer of unlawful
  labor abuses in the supply chain. Defendant continues to violate this provision in connection with
  sales of computer chips designed or manufactured in Israel to California consumers.

  1 16. CLRA section 1770(a)(16) prohibits "representing that the subject ofa transaction has
  been supplied in accordance with a previous representation when it has not."

  1 17. The violations ofthe CLRA have caused pecuniary loss to Plaintiff and the California
  public.

 1 18. As a result ofthe above violations of Business and Professions Code Section 17500,and
 all other authorities above, Plaintiff is entitled to an order ofthis Court enjoining such future
 conduct on the part of Defendant. Thus, Plaintiff seeks to enjoin Defendant's illegal practices
 tied to the supply chain for Intel computer chips, including: (a) an injunction against the further
 sale ofcomputer chips designed or manufactured in Israel;(b)an injunction prohibiting Intel
 from selling misleading, or inadequately labelled computer chips that fail to notify the consumer
 ofthe conditions described herein; and (c)an injunction prohibiting Intel from continued buying,
 distributing, and selling products that they know, should know,or suspect to be tainted by slave
 labor or human slavery.

 1 19. Plaintiff is entitled to an award ofreasonable attorneys' fees under California Code of
 Civil Procedure Section 1021.5 for the benefit conferred upon the general public ofthe State of
 California by any injunctive or other relief entered herein.


                                   THIRD CASE OF ACTION
 120.      Plaintiffs repeat and reallege all facts and circumstances described above as iffully set
 forth as truth herein.

 121.     As stated above, all the other co-defendants except Intel (the "Israeli Defendants")
 perform various types ofjudicial capacity in Israel, but they also belong to cult of misandric
 Radical Feminism, and hence they are sued here also as members ofthe cult. By so affiliating
 themselves with the cult, and carrying its mission via their rulings and precedents, the Israeli
 Defendants committed. crimes against humanity that result on 2000 deaths annually, about
 10,000 impoverished men each year(with at least 20% becoming homeless), and 20,000-25,000
 men denied their rights to raise their children.

 122. The Israeli Defendants replace notions ofJus Cogens and fundamental international
 human rights law with preaching of male hate in its most severe form. Their judgments
 influenced by the hate of males can easily be compared with German judges adjudged, against
 the Jews, in Nazi Germany at 1937(few years before the final solution) with similar propaganda
 and rhetoric. The only different between the Israeli court and the Nazis is the excuses for those
 hate crimes.

 123. In fact, they have turned the State ofIsrael into one big Konzentrationslager by taking all
 the property and by issuing no exit orders left and right just upon the asking so by a
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  woman. Plaintiff himself was under a no exit order for a period of20 years, even after he
  became custodian of his daughter.

 124. In addition to having no shame to write and adjudge that women are always superior to
 men with their parenting skills and are always the best custodian for the children and in addition
 to making it so easy for a woman to concoct the most ridiculous charges of violence and
 pedophilia against men, with no repercussions for the false claims whatsoever, these co-
 Defendants members ofthe cult have excelled at issuing the most unconscionable and manifest
 violations ofinternational human rights and the rights to dignity, equality and due process in
 their decisions concerning child support. In fact, the Israeli Defendants have turned an entire
 population of men in Israel (particulazly the Jewish ones) into child support slaves.

 125. In order to understand the level of hate mongering, one needs to only take a look at the
 campaign addressed to women launched by the Enforcement and Collection Authority (thy
 employer of Defendant Dikla Klein Yona}, on June 2014, which was aired in television, posters
 in every government agency, advertisements in newspapers, and almost each and every
 communications outlet.

 126. In this campaign the women are dressed in military commando outfits as if they are at
 war with men,and the slogan is "Come to us, let us fight for you to get you the child support you
 deserve".

 127.   See the official poster and flier:




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 128. See also the video clip that aired on tv as uploaded by the employer of Dikla Klein Yona
 to Youtube at: https://voutu.be/aSEYrroz-x8/
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 129. This is a visual admission that the Israeli Defendants declared a war on the Jewish men of
 Israel. However explicit admissions in writing and in English can be found in the Israeli periodic
 reports to the LTN Committees on Civil and Political Rights and the iJN Committee on Economic
 Social and Cultural Rights. Already in 2011 the latter Committee admonished Israel for not
 complying with international laws and standards by giving automatic custody to women,
 exempting women from child support and imposing an enormous burden on the men,and not
 taking measures to prevent more than 200 cases of suicide by men in divorce or divorce
 proceedings.

 130. The rules ofthis war (lus ad eellum), succinctly are: only the man pays child support. A
 woman never has to pay child support because she belongs to the superior sex, no matter how
 rich of wealthy she is. A man has to pay full child support even if he is the custodian ofthe
 children and the woman travels the world. A man also has to pay the one third ofthe woman's
 rent and rent maintenance wherever she chooses as "child support". A man is also expected to
 pay "caretaking fee" when the woman needs a babysitter.

 131. Only the man pays for the transportation costs of visitations and gas. The child support
 never stops, even if the man is sick, crippled, army veteran in PTSD,in bankruptcy, in jail, in
 hospital, in mental facility, suffering from terminal cancer, about to die or incapacitated, the
 child support never stops. The woman can also sue the parents ofthe man if he is unable to pay
 her in full or in part.

 132. More rules ofthe war are: the child support is not dependent on the man's income, and
 the income has nothing to do with child support. In fact, there is no problem to impose child
 support exceeding the income, even twice or three times the income. The child support begins at
 a fixed sum of 1,400 NIS per child (not including school tuitions including private schools and
 kindergarten, and 50% of extraordinary expenses such as medical and dental not covered by
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  insurance, etc.) All the add-ups amount to about 2,200-2,500 NIS($600-$675 per-child. Unlike
  other countries were the amount escalates moderately with additional children, the fee is fixed
  and is multiplied per child.

  133. This is in a country with 50% of the population earns minimum wage which is 5,500 NIS
 (about $1,500), and you cannot rent a studio for less than 2,500 NIS ($675), and the minimum
  incidentals (city tax, building common fees, electricity, water and gas)are at least another 1,800
  NIS($SQO).

  134. Assume that a man earns 5,500 NIS ($1,500) and he has 3 children, he will have to pay at
  least 7,500 NIS ($2,020)in child support. Where will that person live and how will he be able to
  afford the $520 shortfall? Some judges in Israel had no shame telling the men in the courtroom
  to "go ahead sell a kidney".

  135. The situation at the Execution and Collections Authority can only be described as an
  inferno. A woman is allowed to open a collection case even if she is owed $0. She can issue a no
  exit order immediately, thus using the body ofa man as collateral for "future child support".
  Also, immediately usurious rates of interest start accumulating on a compounded basis together
  with cost of living adjustment so that the child support base always go up faster than anyone can
  imagine. Not soon thereafter all pension funds are liquidated, all bank accounts are seized, credit
  cards forbidden, driving license not renewed, and then come the mandatory 21 days in jail,
  whenever the wife wants to abuse her former husband a little bit more.


  136. All those crimes be done every day behind closed doors ofthe Israeli Court. Defendants
  will do everything to drop this case, to make sure this case will never hear.

 137. The Israeli Defendants are responsible for all this torture, and therefore are accountable
 under the Alien Tort Claims Act.

 138. The Israeli Defendants have no immunity from trial under FSIA. The exception to
 foreign sovereign immunity at issue in this case is the state-sponsored terrorism exception,
 codified at 28 U.S.C. § 1605(a)(7), enacted as part ofthe comprehensive Antiterrorism and
 Effective Death Penalty Act("AEDPA"),Pub. L. No. 104-132, § 221(a), 110 Stat. 1214(Apr.
 24, 1996).

 139. This statute provides that foreign sovereigns are not immune when money damages are
 sought against a foreign state for personal injury or death that was caused by an act oftorture,
 extrajudicial killing, aircraft sabotage, hostage taking, or the provision of material support or
 resources ... for such an act if such act or provision of material resources is engaged in by an
 official, employee, or agent of such foreign state while acting within the scope of his or
 her office, employment, or agency. See, 28 U.S.C. § 1605(a)(7).

 140. Plaintiff was injured by the actions ofthe Defendants, which can easily be qualified as
 State Terrorism against men. He suffered fear of frequent arnests and baseless detentions, a
 massive libelous "character assassination", post-traumatic stress disorder, sleep deprivation,
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  heightened emotional nervousness, suicidal tendencies, need for painkillers and medications, loss
  of wages or earning capacity, loss ofjob, loss of reputation, and actual impoverishment.

  141. Martin Luther king say about this kind of Judges "You express great an~ciety because we
  are ready to violate laws, but an unjust law is not a law at all". Today I know that an unjust law is
  a crime against humanity.

 142. Richard Allan Posner an American jurist and economist who was a United States Circuit
 Judge ofthe United States Court ofAppeals for the Seventh Circuit in Chicago. He criticizes
 Israeli supreme courtjudge Aharon Barak for both his theoretical argument and for what Posner
 portrays as Barak`s legacy as the President of Israel's Supreme Court. Posner accuses Barak for
 acting as "a legal buccaneer," and describes his approach as "usurpative." Justice Aharon Barak
 does not consider himself a legislator in an absolute and even proportionate way, but by looking
 at the law as a preliminary draft only; That is, as a starting point and not as an end point.
 Unfortunately, this is his legacy and his spirit that unlawfully dominate the Israeli court ever
 since.


  143. Israeli judge moto is "we judge everything" but for themselves they gave unlimited
 immunity, despite the clear law. This third case of action is against the hate crimes ofthe Israeli
 court against me in personal and against humanity and human rights. All Israeli judges and/or
 Israeli court system in position of conflict of interest in this case. There is a strong relationship
 between our countries (Israel and USA)and this court ofjustice is the right place to demand for
 justice.

 144. Plaintiff is entitled to an award ofreasonable attorneys' fees under California Code of
 Civil Procedure Section 1021.5 for the benefit conferred upon the general public ofthe State of
 California by any injunctive or other relief entered herein.

         WHEREFORE,Plaintiff requests judgment against the Defendants in the amount of
 $20,000,000 punitive damages in the amount to be assessed by the court, plus the costs and
 disbursements ofthis action, attorney fees, and any other remedy the Court may dee,just and
 proper.


 Dated: Los Angeles, CA
         April 21, 2020

                                                        YEHONATAN KAPACH,plaintiff
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